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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 RICO PERRY,
                              Plaintiff,

                v.
                                                       Civil Action No. 1:23-CV-10228-WGY
 BRIAN HIGGINS, et al.,

                              Defendant.


                          DEFENDANTS’ MOTION TO DISMISS

       Defendants, Brian Higgins and Keith Medeiros, federal agents from the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”), by and through their attorney, Leah B.

Foley, United States Attorney for the District of Massachusetts, move to dismiss Plaintiff’s

Amended Complaint, Doc No. 13-1.

       Defendants construe Plaintiff as asserting a Bivens claim against them for alleged

interference with his medical care post-arrest. See Bivens v. Six Unknown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388 (1971). But Plaintiff’s Bivens claim fails because it

arises in a new context that is “meaningfully different” from the facts in the three Supreme Court

cases recognizing a Bivens remedy, and because “‘special factors’ counsel[] against extending

Bivens” to this case. See Quinones-Pimentel v. Cannon, 85 F.4th 63, 69–70 (1st Cir. 2023). In

any event, Plaintiff fails to state a constitutional claim for deliberate indifference and any such

claim would be subject to dismissal because it would be barred by qualified immunity.
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       As explained in the accompanying memorandum in support of this Motion to Dismiss,

the Court should dismiss the Plaintiff’s amended complaint against the Defendants.

                                                      Respectfully submitted,

                                                      LEAH B. FOLEY
                                                      United States Attorney

Dated: February 3, 2025                       By:     /s/ Mark Sauter
                                                      Mark Sauter
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office
                                                      1 Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      Tel.: 617-748-3347
                                                      Email: mark.sauter@usdoj.gov

                             LOCAL RULE 7.1 CERTIFICATION

        I, Mark Sauter, hereby certify that pursuant to L.R. 7.1(a)(2), I have conferred with
Plaintiff’s counsel in advance of filing this motion in a good faith attempt to narrow or resolve the
issues raised by this motion.

Dated: February 3, 2025                       By:     /s/ Mark Sauter
                                                      Mark Sauter



                                 CERTIFICATE OF SERVICE

        I, Mark Sauter, Assistant United States Attorney, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

Dated: February 3, 2025                       By:     /s/ Mark Sauter
                                                      Mark Sauter
                                                      Assistant United States Attorney




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